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Attorneys for Defendant
BMV HOTELS LP dba BEST WESTERN PLUS FOREST PARK INN

BEST WESTERN PLUS FOREST PARK INN

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

FERNANDO GASTELUM, Case No. 21-cv-06099-VKD
Plaintiff, ANSWER TO COMPLAINT FOR
DAMAGES AND INJUNCTIVE RELIEF
V. FOR VIOLATIONS OF: AMERICANS
WITH DISABILITIES ACT; UNRUH
BMV HOTELS LP dba BEST WESTERN CIVIL RIGHTS ACT
PLUS FOREST PARK INN,
Defendant.

 

 

COMES NOW DEFENDANT BMV HOTELS LP dba BEST WESTERN PLUS FOREST
PARK INN, a California Limited Partnership (“Defendant”) to answer Plaintiff FERNANDO
GASTELUM’S (‘Plaintiff’) Complaint For Damages & Injunctive Relief For Violations of:
American’s With Disabilities Act; and the Unruh Civil Rights Act (“Complaint”) as follows:
STATEMENT OF CLAIM
1. Defendant is without sufficient knowledge or information to form a belief as to the truth
of plaintiff's allegations in paragraph | and on that basis neither admits nor denies the
same.

2. Defendant admits the allegations in paragraph 2.

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Defendant is without sufficient knowledge or information to form a belief as to the truth

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ANSWER TO COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF FOR
VIOLATIONS OF: AMERICANS WITH DISABILITIES ACT; UNRUH CIVIL RIGHTS
ACT

 
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of plaintiff's allegations in paragraph 3 and on that basis neither admits nor denies the
same.

4. Defendant is without sufficient knowledge or information to form a belief as to the truth
of plaintiff's allegations in paragraph 4 and on that basis neither admits nor denies the
same.

5. Defendant is without sufficient knowledge or information to form a belief as to the truth
of plaintiff's allegations in paragraph 5 and on that basis neither admits nor denies the
same.

6. Defendant is without sufficient knowledge or information to form a belief as to the truth
of plaintiff's allegations in paragraph 6 and on that basis neither admits nor denies the

same.

AFFIRMATIVE DEFENSES

FIRST AFFIRMATIVE DEFENSE

The Complaint fails to state facts sufficient to constitute a cause of action against this
answering Defendant.
SECOND AFFIRMATIVE DEFENSE
The comparative fault of Plaintiff's and others, and such conduct of the part of Plaintiff and
others, proximately contributed to the damages, if any, suffered by Plaintiff.
THIRD AFFIRMATIVE DEFENSE
Plaintiff has failed to adequately mitigate his damages as alleged herein.
FOURTH AFFIRMATIVE DEFENSE
Plaintiff is guilty of laches in that he has inexcusably and unreasonably delayed the filing of
this action thereby causing substantial prejudice to Defendants.

FIFTH AFFIRMATIVE DEFENSE

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Plaintiff consented to any conduct complained of against any defendant. Plaintiff's consent

which is both express and implied, bars any recovery herein.
SIXTH AFFIRMATIVE DEFENSE

Plaintiffs actions are barred by the applicable statute of limitations including, but not limited
to, California Code of Civil Procedure Sections 337, 338, 339, 340, and 342 and California Civil
Code Section 1783.

SEVENTH AFFIRMATIVE DEFENSE

This answering defendant alleges that by reason of the acts, omissions, or conduct of plaintiff
and\or agents, or by reason of their ratification of the acts, omissions, or conduct of others, plaintiff
is barred from any relief and\or the recovery of damages under the doctrine of waiver and\or
estoppel.

EIGHTH AFFIRMATIVE DEFENSE

This answering defendant presently has insufficient knowledge or information on which to
form a belief as to whether they may have additional, but as yet unstated, affirmative defenses
available, and accordingly, this answering defendant reserves the right to assert additional defenses
in the event discovery indicates the same would be appropriate.

NINTH AFFIRMATIVE DEFENSE

This answering defendant is informed and believes and thereon alleges that applicable law
does not require some or all of plaintiff's proposed access changes. Defendant is unaware of
plaintiff's specific complaints of alleged architectural barriers as his complaint is general and vague.
Because discovery is just starting, defendant is informed and believes that based on future
construction/contractor bids regarding proposed access changes, the costs of said bids will show that
the proposed changes are disproportionate to the overall previous applicable alteration. Therefore
they should will not be required under relevant and applicable access law. Defendant asserts this
defense based on the discovery of contractor bids and the discovery of proposed access changes and
complaints.

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TENTH AFFIRMATIVE DEFENSE
Defendant is informed and believes that the proposed access changes are not readily
achievable is defined by applicable access law. Defendant bases this defense on future
construction/contractor bids regarding some of the proposed access changes once disclosed to

defendant by plaintiff.

ELEVENTH AFFIRMATIVE DEFENSE
Defendant is informed and believes that to meet the access requirements that plaintiff may
request would be structurally impractical or technically infeasible. Defendant is informed and
believes that the proposed access change would be an unnecessary and undue burden financially
infeasible based on future proposed construction/contractor bids and defendant’s earnings. Such
remedial measures would be practically difficult and/or too expensive and are not mandated by
applicable access law. Defendant asserts the financially infeasible defense based upon future

construction/contractor bids.

WHEREFORE, Defendant, BMV HOTELS LP dba BEST WESTERN PLUS FOREST
PARK INN, a California Limited Partnership, prays that Plaintiff take nothing by this complaint,
that Defendant be awarded its costs of suit, including reasonable attorney’s fees; and for such other

and further relief as the Court may deem proper.

DATED: August 27, 2021 LAW OFFICE OF MI HAEL HEATH

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Michael Heath

Howard Olsen

Walter J. Lin

Attorneys for Defendant

BMV HOTELS LP dba BEST WESTERN
PLUS FOREST PARK INN

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ANSWER TO COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF FOR

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I, MAYUR PATEL, hereby declare as follows:

I am one of the Partners of the limited partnership and I have been expressly authorized
to make this verification on behalf of the Defendant. I am familiar with all of the facts
relating to this Answer to the Compliant: For this reason, I am making this verification.
I have read the foregoing answer and know the contents thereof and the same is true of
my own knowledge except as to matters stated in the complaint on information and
belief, and as to those matters, I believe them to be true.

 

I declare under penalty of perjury that the foregoing is true and correct and that this
declaration was executed at San Francisco, California, on August 27, 2021.

  

MAYUR PATEL
General Partner
BMV HOTELS LP

 
